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                                           April 23, 2023

The Honorable Stephen P. McGlynn
United States District Court for the Southern District Court of Illinois
750 Missouri Avenue
East St. Louis, IL 62201

       Re:     Caleb Barnett v. Raoul, 3:23 CV 209-SPM
                  ▪ Dane Harrel, et al v. Kwame Raoul, et al, 3:23 CV 141-SPM

             RESPONSE TO DEFENDANTS’ SUPPLEMENTAL AUTHORITY

       Applying the proper legal framework, Delaware State Sportsmen’s Association, Inc. v.

Delaware Department of Safety and Homeland Security, No. 22-951-RGA, 2023 U.S. Dist.

LEXIS 51322 (D. Del. March 27, 2023), supports Plaintiffs’ position. Heller and Bruen establish

that law-abiding citizens have an absolute right to possess and use arms that are in common use

for lawful purposes. See Pls. Motion for Preliminary Injunction at 8–10 (Dkt. #16). Delaware

State Sportsmen’s Association confirms that the firearms and ammunition magazines that Illinois

bans are in common use and therefore cannot be banned. The case held that both “assault long

guns” (a category similar to the rifles banned by Illinois) and magazines in excess of seventeen

rounds (larger than the ten rounds allowed by Illinois) “are in common use for self-defense.”

2023 U.S. Dist. LEXIS 51322, at *14, *22. Under Heller and Bruen, that is the end of the

matter—a law banning commonly possessed arms is unconstitutional, full stop.

        Delaware State Sportsmen’s Association erred by nevertheless holding Delaware’s bans

to be constitutional. The root of the court’s error was placing the “common use” test at the

textual, rather than historical, stage of the Bruen inquiry. As a matter of plain text, Heller and

Bruen make clear that the Second Amendment extends to all “instruments that facilitate armed
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self-defense.” Bruen, 142 S. Ct. at 2132. It is at the historical stage, where the government bears

the burden, that limitations on the right to possess such instruments must be established. This

again is clear from Heller, which derived the common use test from “the historical tradition of

prohibiting the carrying of ‘dangerous and unusual’ weapons.” 554 U.S. at 627 (emphasis

added).

          Delaware State Sportsmen’s Association further erred by relying primarily on restrictions

on Bowie knives and machine guns to justify bans of the type at issue here. See 2023 U.S. Dist.

LEXIS 51322, at **31-32, 33-34. See Plaintiffs’ Preliminary Injunction Reply at 8–9 (Bowie

knives); 10–11 (machine guns). Both as to the type of arm and the burden on the right of armed

self-defense, such regulations are not “relevantly similar” such that they are appropriate

historical analogues. Bruen, 142 S. Ct. at 2132.



                                               Respectfully submitted,




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                                               Dane Harrel, et al v. Kwame Raoul, et al
                                               3:23 CV 141-SPM
